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                     United States of America v. Roman Seleznev
                                     CR11‐70RAJ
                                 TRIAL WITNESS LIST

                         Name                                Date(s) Testified
Special Agent In Charge David Iacovetti                        08‐16‐2016
Andrei Medvedev                                                08‐16‐2016
                                                               08‐16‐2016
Detective David Dunn
                                                               08‐17‐2016
Special Agent John Szydlik                                     08‐18‐2016
Special Agent David Mills                                      08‐18‐2016
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Special Agent Michael Fischlin
                                                               08‐19‐2016
Richard Noel                                                   08‐19‐2016
Jason Winship                                                  08‐19‐2016
Special Agent Keith Wojcieszek                                 08‐19‐2016
C.J. Saretto                                                   08‐22‐2016
Bob Kerr                                                       08‐22‐2016
Christopher Forsyth                                            08‐22‐2016
Diane Cole                                                     08‐22‐2016
Joe Angelastri                                                 08‐22‐2016
Megan Wood                                                     08‐22‐2016
Steven Bussing                                                 08‐23‐2016
Christopher Doyle                                              08‐23‐2016
Sidney Fanarof                                                 08‐23‐2016
Eric Blank                                                     08‐23‐2016
Ovie Carroll                                                   08‐23‐2016
